 Case 19-10782             Doc 264     Filed 01/08/21 Entered 01/08/21 11:05:08             Desc Main
                                        Document     Page 1 of 5



                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
                                        (Eastern Division)



 In re
                                                            Chapter 13
            ANDREW GREENHUT,
                                                            Case No. 19-10782-JNF
                             Debtor.



          SRIVASTAVA’S AMENDMENT TO JOINT PRETRIAL MEMORANDUM

          Pursuant to this Court’s Proceeding Memorandum and Order dated November 10, 2020

[Doc. No. 252], as amended by order dated December 21, 2020 [Doc. No. 261], creditor Gita

Srivastava (“Srivastava”), the holder of divorce-related claims against Andrew Greenhut (the

“Debtor”), hereby submits her independent amendment to the previously filed Joint Pretrial

Memorandum dated October 22, 2020 [Doc. No. 248]. The Court had ordered the parties to

amend the Joint Pretrial Memorandum:

                     The parties shall by December 18, 2020 [continued by subsequent order],
                     file an amendment to the Joint Pretrial Memorandum (i) reflecting the
                     remaining issues of fact and law for trial; and (ii) advising if the parties
                     have agreed to use deposition transcripts in lieu of testimony, and if so,
                     which transcripts will be submitted.

Srivastava and the Debtor, through counsel, negotiated in an effort reach agreement on the

required amendment. The parties did reach agreement on a number of issues, all of which are

presented below. Srivastava submits this Amendment individually in compliance with the

Court’s order, and further submits that the following are agreed upon by the parties:

          A.         Issues of Fact Which Remain to be Litigated

          1.         The parties have agreed upon the following list of facts which remain to be

litigated:


12659456.1.1.1.1.1
    Case 19-10782          Doc 264       Filed 01/08/21 Entered 01/08/21 11:05:08                    Desc Main
                                          Document     Page 2 of 5



                     a.      Whether the Debtor accurately reported his income on his Schedule I1,
                             including expected changes to income.

                     b.      Whether the Debtor accurately listed the identity of his employer on his
                             Schedule I.

                     c.      Whether the Debtor accurately identified his debts, including the amount
                             of each debt.

                     d.      The correct calculation of Srivastava’s claim (for chapter 13 filing
                             eligibility purposes under section 109 of the Bankruptcy Code).

                     e.      Whether the Debtor was under pressure from his creditors (other than
                             Srivastava) to file for bankruptcy relief.

                     f.      The reason(s) for which the Debtor filed for bankruptcy relief.

                     g.      The nature of the transfers from the Debtor’s Parents to the Debtor.

                     h.      Whether the Debtor’s bankruptcy filing constituted bad faith, based, inter
                             alia, upon:

                             i.      the Debtor’s income;

                             ii.     the Debtor’s living expenses;

                             iii.    the Debtor’s attorney’s fees;

                             iv.     the expected duration of the plan;

                             v.      the Debtor’s sincerity in petitioning for chapter 13 relief;

                             vi.     the Debtor’s potential for future earning;

                             vii.    any special circumstances (such as, for instance, high medical
                                     expenses);

                             viii.   any prior filings;

                             ix.     the circumstances under which the debt was incurred;

                             x.      the amount of payment offered as an indication of the Debtor’s
                                     sincerity to repay the debt;

                             xi.     the burden administration would place on the Trustee; and

                             xii.    the policy of construing relief in favor of Debtor.


1
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Joint Pretrial Memorandum.
                                                           2
12659456.1.1.1.1.1
 Case 19-10782             Doc 264     Filed 01/08/21 Entered 01/08/21 11:05:08            Desc Main
                                        Document     Page 3 of 5



                     i.     Whether the Debtor’s bankruptcy is in reality a two-party dispute between
                            the Debtor and Srivastava.

                     j.     Whether the Debtor had other legitimate debts besides those of Srivastava.

                     k.     The degree to which the Debtor is truly burdened by his debt to
                            Srivastava.

          2.         There are no further relevant facts which remain to be litigated. The Court’s order

provided:

                     The Court held that the issues to be determined are limited to the Debtor's
                     good faith in filing the bankruptcy case in March 2019. The trial will not
                     address any issues of good faith in the Debtor proposing the Third
                     Amended Chapter 13 Plan. (emphasis added)

          3.         The Debtor contends that his postpetition conduct remains relevant

notwithstanding the order. The Debtor proposes to include numerous facts in dispute in

connection with the proposal and filing of his multiple successive plans, his tardy postpetition

disclosures, and the conduct of his fiancée. All such factual disputes are irrelevant to the

Debtor’s lack of good faith in filing his petition.

          B.         Issues of Law to be Determined

          4.         The sole issue of law to be determined is whether the Debtor lacked good faith in

the filing of his bankruptcy petition sufficient to warrant dismissal for cause. The parties agree

that this issue remains. Srivastava submits that this is the sole issue properly before this Court at

this time and in the context of the Motion to Dismiss. The Debtor proposes to re-introduce issues

of law related to postpetition conduct of the Debtor, which are inappropriate and contradict this

Court’s order.

          C.         List of Witnesses Providing Testimony via Deposition Transcript

          5.         At the pretrial conference conducted November 9, 2020, the Court indicated that

direct witness testimony is to be provided by affidavit. As all witnesses in this matter are adverse


                                                      3
12659456.1.1.1.1.1
 Case 19-10782             Doc 264     Filed 01/08/21 Entered 01/08/21 11:05:08             Desc Main
                                        Document     Page 4 of 5



to Srivastava, Srivastava will provide testimony via deposition transcript for the following

witnesses:

                     a.     Andrew Greenhut—Transcript dated February 10, 2020.

                     b.     Gloria Greenhut—Transcript dated February 21, 2020.

                     c.     Alan Greenhut—Transcript dated February 21, 2020.

          6.         While the Debtor has not opposed submission of these transcripts, he has,

however, indicated that he intends to conduct live examinations of himself and his parents in

contradiction of this Court’s direction to submit direct testimony by affidavit. Srivastava reserves

the right to object to live examination by the Debtor in lieu of using deposition transcripts.

          D.         Conclusion

          7.         Srivastava and the Debtor agree on a list of remaining facts and legal issues as set

forth herein. Srivastava has not proposed any remaining facts or disputed legal issues for

inclusion beyond those agreed upon by the parties. The Debtor, conversely, now seeks to

reintroduce facts and legal issues previously reviewed and rejected by the Court.

                                                           Respectfully submitted,

                                                           GITA SRIVASTAVA,

                                                           By her attorneys,

                                                           /s/ Alex F. Mattera
                                                           Alex F. Mattera, BBO No. 641760
                                                           Pierce Atwood LLP
                                                           100 Summer Street, 22nd Floor
                                                           Boston, MA 02110
                                                           Telephone: (617) 488-8112
                                                           Email:       amattera@pierceatwood.com
 Dated: January 8, 2021




                                                       4
12659456.1.1.1.1.1
 Case 19-10782       Doc 264      Filed 01/08/21 Entered 01/08/21 11:05:08            Desc Main
                                   Document     Page 5 of 5



                                CERTIFICATE OF SERVICE

       I, Alex F. Mattera, hereby certify that on the 8th day of January 2021 I caused to be
served a copy of the above pleading on all parties registered for electronic service through the
CM/ECF system.

                                                     /s/ Alex F. Mattera
                                                     Alex F. Mattera




                                                 5
12659456.1.1.1.1.1
